Case 6:16-bk-05281-ABB Doc 31 Filed 03/02/17 Page 1 of 6

UNITED STATES BANKRUPTCY COURT

y MIDDLE DISTRICT OF_ FLORIDA
ORLANDO DIVISION
Debtor(s)
Juan C Castilloveitia Case No: 6:16-bk-0528l
/

 

THIRD AMENDED CHAPTER 13 PLAN
CHECK ONE:

X Debtorl certifies that the Plan does not deviate from the model plan adopted by
the Court at the time of the filing of this case. Any nonconforming provisions are deemed
stricken.

The Plan contains provisions that are specific to this Plan in paragraph 9,
Nonconforming Provisions. Any nonconforming provision not set forth in paragraph 9 is deemed
stricken.

1. MONTHLY PLAN PAYMENTS. Plan payments include the Trustee's fee of 10% and
shall begin 30 days from petition filing/conversion date. Debtor shall make payments to the
Trustee for the period of 60 months. If the Trustee does not retain the full 10%, any
portion not retained will be disbursed to allowed claims receiving payment under the plan and
may cause an increased distribution to the unsecured class of creditors:

 

(B) $l 077.18 for months 2 through 5

___

(C) $1,126.36 for months 6 through 60

(A) $l 660.00 for months l through l

 

To pay the following creditors:
2. ADMINISTRATIVE ATTORNEY’S FEES.

Base Fee $ 4 850 Total Paid Prepetition $2 500 Balance Due $2,350

 

 

Estimated Additional Fees Subject to Court Approval $0

Attorney’s Fees Payable through Plan $ 150.00 Monthly (subject to adjustment)

 

l All references to “Debtor” include and refer to both of the debtors in a case filed jointly by two
individuals.

Case 6:16-bk-05281-ABB Doc 31 Filed 03/02/17 Page 2 of 6

3. PRIORITY CLAIMS gas defined in 11 U.S.C. § 507[.

 

Last 4 Digits Creditor Total Claim
of Acct No.

6085 Florida Department of Revenue $l `244.00
6085 Intemal Revenue Service ($5.379.42 @ 4%) $6,022.57

 

4. TRUSTEE FEES. Trustee shall receive a fee from each payment received, the
percentage of which is fixed periodically by the United States Trustee.

5. SECURED CLAIMS. Pre-confirmation payments allocated to secured creditors under
the Plan, other than amounts allocated to cure arrearages, shall be deemed adequate protection

payments

(A) Claims Secured by Real Property Which Debtor lntends to Retain/ Mortgage
Payments and Arrears, if any, Paid through the Plan. If the Plan provides for curing
prepetition arrearages on a mortgage, Debtor will pay, in addition to all other sums due under the
proposed Plan, all regular monthly post petition mortgage payments to the Trustee as part of the
Plan. These mortgage payments, which may be adjusted up or down as provided for under the
loan documents, are due beginning the first due date after the case is filed and continuing each
month thereafter. The Trustee shall pay the post petition mortgage payments on the following

mortgage claims:

Last 4 Digits Creditor

of Acct No.

8832 chen
Loan
Servicing,
LLC

Collateral Reg. Mo. Pmt. Gap Pmt. Arrears
Address

2114 $711.55 $711.55 $1,221.27
Woodsedge Dr

Lot 40

Kissimmee, FL

 

(B) Claims Secured by

Real Property/Debtor Intends to Seek Mortgage

Modification. Pending the resolution of a mortgage modification request, Debtor shall make the
following adequate protection payments to the Trustee: (l) for homestead property, the lesser of
31% of gross disposable monthly income of Debtor and non-filing spouse, if any (after deducting
homeowners association fees), or the normal monthly contractual mortgage payment, or (2) for
non-homestead, income-producing property, 75% of the gross rental income generated from the

property:

Last 4 Digits Creditor

of Acct. No.

Collateral Pmt. Amt.

Address

 

 

 

Case 6:16-bk-05281-ABB Doc 31 Filed 03/02/17 Page 3 of 6

(C) Claims Secured by Real Property or Personal Property to Which Section 506
Valuation APPLIES. Under 11 U.S.C. § 1322(b)(2), this provision does not apply to a claim
secured solely by Debtor’s principal residence. A separate motion to determine secured status or
to value the collateral must be filed. The secured portion of the claim, estimated below, shall be
paid:

Last 4 Digits Creditor Collateral Claim Amt. Pmt. Interest @ °/_o
of Acct No. Desc./Address Value

 

 

(D) Claims Secured by Real Property and/or Personal Property to Which Section
506 Valuation DOES NOT APPLY. Claims of the following secured creditors shall be paid in
full with interest:

Last 4 Digits Creditor Collateral Claim Amt. Pmt. Interest @ °/_o
of Acct No. Desc./Address Value
1101 Lendmark 2002 Honda $3,177.00 $53.13 13%
Financial 1800 Gold
Wing

 

(E) Claims Secured by Personal Property - Maintaining Regular Payments and
Curing Arrearages, if any, with All Payments in Plan.

Last 4 Digits Creditor Collateral Regular Payment Arrearages
of Acct No. Description

 

 

 

 

(F) Secured Claims/Lease Claims Paid Direct by Debtor. The following secured
claims/lease claims are being made via automatic debit/draft from Debtor’s depository account
and are to continue to be paid direct to the creditor or lessor by Debtor outside the Plan via
automatic debit/draft. The automatic stay is terminated in rem as to Debtor and in rem and in
personam as to any codebtor as to these creditors and lessors upon the filing of this Plan.
Nothing herein is intended to terminate or abrogate Debtor’s state law contract rights. (Note: The
Plan must provide for the assumption of lease claims that Debtor proposes to pay direct in the
Lease/Executory Contract Section 6 below.)

Last 4 Digits Creditor Property/Collateral
of Acct No.

 

 

 

Case 6:16-bk-05281-ABB Doc 31 Filed 03/02/17 Page 4 of 6

(G) Liens to be Avoided per 11 U.S.C. § 522/Stripped Off per 11 U.S.C. § 506. A
separate motion to avoid a lien under § 522 or to determine secured status and to strip a lien
under § 506 must be filed.

Last 4 Digits Creditor Collateral Description/Address
of Acct No.
MERS 2114 Woodsedge Dr Lot 40
Kissimmee, FL

 

Cypress Shadows HOA 2114 Woodsedge Dr Lot 40
Kissimmee, FL

 

(H) Surrender of Collateral/Leased Property. Debtor will surrender the following
collateral/leased property. The automatic stay is terminated in rem as to Debtor and in rem and in
personam as to any codebtor as to these creditors and lessors upon the filing of this Plan. (Note:

The Plan must provide for the rejection of lease claims in the Lease/Executory Contract section
below.)

Last 4 Digits Creditor Collateral Description/Add ress
of Acct No.
4301 McCoy Federal Credit U 2008 Mazda CX9 130,000 miles

 

 

(I) Other Secured Claims. Debtor does not intend to make payments to the following
secured creditors. The automatic stay is terminated in rem as to Debtor and in rem and in personam
as to any codebtor with respect to these creditors. Debtor’s state law contract rights and defenses are
neither terminated nor abrogated.

 

 

 

6. LEASES/EXECUTORY CONTRACTS.

Last 4 Digits Creditor Property Assume/Reject-Surrender Est. Arrears
of Acct No.

 

 

 

7. GENERAL UNSECURED CREDITORS. General unsecured creditors with allowed
claims shall receive a pro rata share of the balance of any funds remaining after payments to the

above referenced creditors or shall otherwise be paid under a subsequent Order Confirming Plan.
The estimated dividend to unsecured creditors shall be no less than $ 1 284.61 .

 

Case 6:16-bk-05281-ABB Doc 31 Filed 03/02/17 Page 5 of 6

ADDITIONAL PROVISIONS:

(A) Unless otherwise ordered, secured creditors, whether or not dealt with under the
Plan, shall retain the liens securing such claims;

(B) Payments made to any creditor shall be based upon the amount set forth in the
creditor’s proof of claim or other amount as allowed by an Oider of the
Bankruptcy Court.

(C) Property of the estate (check one)*

 

(1) shall not vest in Debtor until the earlier of Debtor’s discharge or
dismissal of this case, unless the Court orders otherwise; or
(2) X shall vest in Debtor upon confirmation of the Plan.

*If Debtor fails to check (l) or (2) above, or if Debtor checks both (l) and (2),
property of the estate shall not vest in Debtor until the earlier of Debtor’s discharge or
dismissal of this case, unless the Court orders otherwise.

(D) The amounts listed for claims in this Plan are based upon Debtor’s best estimate
and belief and/or the proofs of claim as filed and allowed. The Trustee shall only
pay creditors with filed and allowed proof of claims. An allowed proof of claim
will control, unless the Court orders otherwise

(E) The Debtor may attach a summary or spreadsheet to provide an estimate of
anticipated distributions The actual distributions may vary. lf` the summary or
spreadsheet conflicts with this Plan, the provisions of the Plan control prior to
confirmation, after which time the Order Confirming Plan shall control.

(F) Debtor shall timely file all tax returns and make all tax payments and deposits
when due. (However, if Debtor is not required to file tax returns, Debtor shall
provide Trustee with a statement to that effect.) For each tax return that becomes
due after the case is filed, Debtor shall provide a complete copy of the tax return,
including business returns if Debtor owns a business, together with all related W-
2s and Form 1099s, to the Trustee within 14 days of filing the return. Unless
otherwise ordered by the Court, Debtor shall turn over to the Trustee all tax
refunds in addition to regular Plan payments. Debtor shall not instruct the Internal
Revenue Service or other taxing agency to apply a refund to the following year’s
tax liability. Debtor shall spend no tax refunds without prior court approval.

Case 6:16-bk-05281-ABB Doc 31 Filed 03/02/17 Page 6 of 6

9. NONCONFORMING PROVISIONS:

 

 

 

/s/Juan C Castilloveitia
Debtor Dated: 2/14/17

a/%/

f Debtor Dated:

CERTIFICATE OF SERVICE

I/We hereby certify that a true and correct copy of this Chapter 13 Plan of Debtor(s) was
furnished by United States mail, postage prepaid, to All Creditors and Parties in Interest as listed
on the Court’s Matrix as attached, this W, 2017.

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‘ ndro iv .Esq.

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